Case: 20-13482 Doc:1_ Filed: 10/25/20 Page: 1 of 15

    

United States Bankruptcy Cour fer the:

WESTERN DISTRICT OF OKLAHOMA

 

4 5 wee

E] Check if this an
amended filing

 

i
|
/ Case number gr known) : Chapter at /
i

 

- Official Form 204 |
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (¥
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

 

1. °. ‘Debtor's name _RHA Stroud, Inc.

 

2, - All other names debtor
|. Used in the last 8 years

‘include any assumed
names, rade names and
doing business as names

DBA Stroud Regional Medical Center

 

"3. Debtor's federal
'?". Employer Identification © .XX-XXXXXXX

 

 

 

 

Number (EIN)
. 4... Debtor's address Principal place of business , Mailing address, if different from principal place of
not Pn a OG oo business | — ,
2308 Highway 66 West
Stroud, OK 74079 - _ oe
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Lincoin . ' Location of principal assets, if different from principal
County } , piace of business — oe

 

Number, Street, City, State & ZIP Code

 

 

8. Debtor's website (URL) - http://stroudhospital.com/

 

8 Type of debtor EE Corporation {friclisding Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
o Partnership (excluding LLP) ,

C1 Other. Specity:

 

 

 

_, Official Form 201 - Valuntary Petition for Non-Individuals Filing for Bankruptcy ‘page 4

 
Case: 20-13482

Debior RHA Stroud, Inc,

Filed: 10/25/20 Page: 2 of 15

Doc: 1

Case number (i known)

 

 

Name

7. ~ Describe debtor's business A. Check one:

: 8. Under which chapter of the
_ Bankruptcy Code is the |
: debtor filing?

A debtor who is a “small
-: business debtor” must check
_. ” She first. sub-box, A debtor as.
defined in § 1182(1) who
‘|. elects fa proceed under. ;
“subchapter V of chapter 11

(whether or not the debtor is a.

“small business debtor} must
check the second sub-box. °

%. | Were prior bankruptcy
: ‘cases filed by or against -
. the debtor within the last &
“years?

‘if more than 2 cases, attach a
‘separate fist:

& Health Care Business (as defined in 11 U.S.C, § 101(27A))

a Single Asset Real Estate (as defined i in 11 U.S.C. § 101(54B))
C1 Railroad (as defined in 11 U.S.C. § 401(44

CO) Stockbroker (as defined in 11 U.S.C. § rota)

C1 Commodity Broker (as defined in 11 U.S.C. § 101(6))

a Clearing Bank (as defined in 11 U.S.C. § 781(3))

On ‘None af the above.

B. Check al that apply
ES] Tax-exempt entity (as described in 26 U.S.C. §501)
oo investment -campany, including hedge fund or pooled investment vehicle (as defined in 16 U.S.C. §80a-3)

c. NAICS (North Ametican n industry ( Classification System) 4-digit code that best describes debtor.
See h ahaa. uscourts.qov/four-di it-nationa|-assocjation-naics- codes,

      

‘Checic one:

Chapter 7
Oo Chapter 8

: a Chapter 14. Check alt that apply.

C1 ‘The debtor is a small business debtor as defined in.117 U.S.C. § 103(51D), and its aggregate
nencontingeni liquidated debts (excluding debts awed te insiders or affiliates) are less than
$2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do aot:
exist, follow the procedure in 41 U. S.C. § 1416(1){B). ° :

EI > The debtor is a debtor as defined in 14.U,8.C, § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or afi ihates) are less than $7,500,060, and it chooses to
proceed under Subchapter V of Chapter 41. this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1}(B).

A plan is being ‘filed with this petition. ©

oo

. Acceptances ofthe plan were solleted prepetition from one or more classes of creditors, 4 in
accordance with 11 U.3.C. § 1126(b).”

The debtor is required to file periodic reports (for example, 10K and 400) with the Securities and
' Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
~ Attachment fo Voluntary Petition for Non- Individuals Filing for Bankruptcy under Chapter 11.
(Official Form 201A) with this form:

; Cl The debtor is a shell company as defi ned in the Securities Exchange Act of 1934 Rale #2b-2,,
OF Chapter 12

a No.

D Yes:

District a
District

_ Case number

 

___ Case number

 

 

18, . Are any bankruptey cases’
: i) pending o7 being filed by a
- business partner or an

affiliate of the debtor? -

List ail-cases. If more than 1,
attach a separate list

-Gfficial For 204

& Yes,

Affiliate

RHA Anadarko, Inc.

. Western
_ District District o| of Oklahoma

Debtor Relationship

 

 

When 10/25/20.

_ Case number, if known.

 

Voluntary Petition for Non-Individuals Filing for Bankruptey page 2

 
Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 3 of 15

 

‘Debtor RHA Stroud, Inc. - Case number {# known)
ft Name.

41. Why is the case filed in. Check ail that apply:

this district? ; ;
: : B Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition ar for a longer part of such 180 days than in any other district.
OF Abankruptey case concerning debtor's affiliate, general partner, or partnership is pending in this district,

_ 12. Does the debtor own or 2 No

have possession of an
spat property or personal EJ ves. Answer below for each property that needs immediate attention. Attach additional sheets if needed,

property that needs
immediate attention? Why does the property need immediate attention? (Check all that apply.)

C1 it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard? :

 

(J it needs fo be physically secured or protected from the weather.

On includes perishable goods or assets that could quickly deteriorate or lose value without attention {for example,
. livestock, seasonal goods, meat, dairy, produce, or securities-relafed assets or other, options),

F Other

 

 

; Where is the property? .
Number, Street, City, Staté & ZIP Cade
Is the property insured?

 

 

DINs

O Yes. Insurance agency

, Contact name
Phone

 

 

 

Statistical and administrative information

 

") 43. Debtor's estimation of. | © Check ona:

iiable fund. , oo: /
aval / s o Funds wil be available for distribution to unsecured creditors,

Hl After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of EI 1-49. ‘ CF 7,000-8,000 [1 25,001-50,000

 

 

+ Sreditors > Hiso00 Ci s001-10,000 Cl 50,001-100,000
os , CI 400-199 C1 19,001-25,000. C1] More than 100,000
© 290-999 By
18, Estimated Assets (7 $0 - $50,060 TG $4,000,001 » $16 rniliion C1-$500,000,001.- $t.bilfion
po $50,001 - $400,000 I $10,000,001 - $50 miltion C1 $1,000,006,001 - $10 billion’ _
(3 $106,001 - $500,000 F4 $50,000,001 - $400 milion - 11'$10,000,000,004 - $50 billion
FE] $500,001- $4 million - (18400,000,001 - $600 million [2 More than $50 billion
' 16. Estimated liabilities —§ = 7] §9 - $50,000 ~ 0 $4,000,001 - $10 million [1 -$500,000,001 - $4 billion
ee - 7 $50,001 - $100,000 CD $10,000,001 - $50 million. C7 $1,000,000,001 - $19 billion
£4 $100,001 - $500,000 BE $50,000,001 - $100 million . 19 $10,000,000,064 - $50 billion
C7 $600,001 - $4 million 1 $100,000,001 - $500 million’ CI More than $50 billion

 

Offictal Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

 
Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 4 of 15

 

 

| Debtor. = RHA Stroud, inc, Case number {if known)
' “Name mene

  

Request for Relief, Declaration, and Signatures

 

WARNING - Bankruptoy fraud is a serious crime. Making 4 false statement in connection with a bankruptcy case can result in fines up to $506,000 or
: imprisonment for up te 20 years, or both. 18 U.S.C. §§ 152, 1341, 1579, and 3571. ‘

17, Dectaration and signature
_ of authorized The debtor requests relief in accordance with ihe chapter of Utle 11, United States Code, specified in this petition,
representative of debtor
ch thave been authorized fo file this petition on behalf of the debtor.
[have examined the information in this petition and have a reasonable belief that the information is true and correct.

| deciare under nenaity of perjury that the foregaing is true and correct.

Executed on October 25, 2020
MM /DD7YYYY

Charles Eldridge
Printed name

 

 

 

Date October 25, 2026
MM/DD/YYYY

 

 

 

a Michael Rubenstein, Esq.
cole. Printed name ..

Rubenstein & Pitts PLic
. Finn name |:

1503 E. 19th St.
Edmond, OK 730413
Number, Street, City, State & ZIP Code

Contact phone 405-340-1900 ____ Emaitaddress - mrubenstein@oklawpartners.com

 

7806 OK
Bar number and State

 

Official Form 201 Voluntary Petition for Non-Individuais Filing for Bankruptcy

 
Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 5 of 15

    
     

7 ». | Debtor name
_
: United States Bankruptcy Court forthe: WESTERN DISTRICT OF OKLAHOMA

RHA Stroud, Inc.

:Case number (known) _

‘Official Form 202 |
Declaration Under Penalty of Perjury for Non-Individual Debtors tens

Ei Check if this is an
amended fing

Saw

‘An individual who is authorized to act on behaif of a non-individual debtor, such as a corporation or partnership, must sign and submit this
. -, form for the schedules of assets and abilities, any other document that requires a declaration that is not included in the document, and any

“amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and $017. , ‘ :

WARNING ~ Bankruptey fraud is a serious crime. Making a faise statement, concealing property, or obtaining merey or property by fraud in
connection with a bankruptey case can result in fines up te $500,060 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571. : oo : : ae

 

   

Declaration and signature .

 

: .. Lat the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
: individual serving asa representative of the debior in this case. . ue “

TRave examined the information in the documents checked below and [ have a-reasonable belief that the information is true and correct:

Schedule A/S: Assets—Real and Persona! Property (Official Form 206A/B)

’ ‘Schedule .D: Creditors Whe Have Claims Secured by Properly (Official Form 206D)
Schedule E/F: Credifors Who Have Unsecured Claims (Official Form 208E/F) —

’ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G
Schedule MH: Codebtors (Official Form 2084) ,
Summary of Assets:and Liabilities for Non-Individuais (Official Form 206Surn)}

Amended Schedule —
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

Other document that requires a declaration

Ol:

 

 

Om@ocoooo

  

De, declare under penalty of perjury that the foregoing is true a correct. -

“

 

Executed on October. 25,2020 KY Lawl, lr Oo

* ignatyre of individual signing én behatt of debtor ae
“Charles Eldridge =
Printed name

 

President -
Position or relationship to debtor -

Official Forrn 202 - Declaration Under Penalty of Perjury for Non-individual Debtors

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*The Debtor relied on financial data available to it at the time it prepared the List of Creditors Who Have the 20 Largest Unsecured
Claims. However, the Debtor will be amending this list once it is able to receive from its management company all of its hooks and records.

   
 

  

 

 

 

 

a0 ei
i Debtor name | RHA Stroud, Inc, . i
United States Bankruptcy Court for the: WESTERN DISTRICT OF — i 1] Check if this is an
: ; OKLAHOMA
| Case number (if known): ; | amended filing
: oo

 

- Official Form 204 | -
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/18

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Aliso, donot —
include claims by secured creditors, unless the unsecured claim resuiting from inadequate collateral value places the creditor
among the holders of the 20 fargest unsecured claims. —

 

| Complete mailing address, i and email address of": (for example, trade” |: bs-eontingent, “ Ifthe. clair is fully unsecured, fill in only bnsecured claim-amount: tf A.
/iteluding zip code.” :~ | creditor contact -:-2>. "lL debts, bank joans,.° . | unliquidated, or! daim ig parllally secured, fil intotat claim amount and deduction for.
a professional serviges, "-f" disputed”’~' |; value of collateral or setoff to calellaté dinsécuted claim :
: “pand goverment! os fy eS otal claim, W-) ~ | Deduction for value | Unsecured claim :
ee re S vee Gontacts) “se Pet partially secured —- | of collateral or setoff: | ee
Airgas USA, LLC Trade debt $6.00
1259 N_
. |Radnor-Chester Rd. -
: Suite 760
_ Wayne, PA 19087 : .
{Elaine's 3° Trade debt , $0,00
Transportation Co.
3717 Vickie Dr.
Oklahoma City, OK
+ 73118 we
- Empire Paper — Trade debt = =: : $0.00
_ Company .o° . , “4
,2708 Central FWY E
Wichita Falls, TX
76301 | - _
First Physician Bus. |. Trade debt  Gentingent . $6.00
Solutions-Stroud — ” Unliquidated
14323 NW 63rd St, . , Disputed .
Okiahoma City, OK
“73416 : _
‘| First Physicians ‘| Trade debt - Contingent mo $0.00)
Business Solutions : Unliquidated
clo J, Clay >. i , Disputed
“Christensen, Esq,
| Christensen Law
iGroup,PLLC -° .) .
13407-N-W. 63rd ST,
- ‘Suite 600. - .
':. Oklahoma City, OK.
1 F3416

; Name of creditor and. Name, telephone number . Nature of claim"... indicate Ifelaim -| AMount of claim. 0 0

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Official form 204 . Chapter 11 or Chapter 9 Gases: List of Creditors Who Have {he 20 Largest Unsecured claims page 1

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#295

 

 

_ complete matting. address,
neluding zip. Sods :

   

oe, creditor sontact

and email address of: Q

J (for example, tage. 25"
*. | debts, bank loansy ">
_ of professional sevvieds, °° -

“Mnliquidated, or

‘is contingent, :

Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 7 of 15
“Debtor. RHA Stroud, Inc. Case number (if known)
Name ee . eee
“Name of creditor and ¢ Name, ielephone, umber Nature of claim -): Indicate if.claim = Amount.of claim ..~.

Ifthe claini is fully unsecured, ff | in only unseuinsd claim amount, If:
claim Is:partially secured, fill in total claim amount and deduction for o
[value ‘of collaterat or-setoff to calculate unsecured ciaint. °

 

She dispated ot

Lite | Total claim, if
| partially secured

Deduction for value

of collateral or setoif

Unsecured claim,

 

. | First Physicians
Realty Group, LLC
. i tto J. Clay
Christensen, Esq.
Christensen Law
Group, PLLC
3401 ALW. 63rd ST,
Suite 600 ~~
Oklahoma City, OK
73116-

Rent

Contingent
Unliquidated
Disputed |

$10,324,000.00 :

 

|| First Physicians
Resources - Stroud
-, (14201 Wireless Way -

i Suite B-400 :
Oklahoma City, OK
73134:

Trade debt

Disputed —

Contingent
Unliquidated .

$0.00

 

Henty Schein

“+ Box 371952

~ | Pittsburgh, PA
45250-7952 -

Trade debt. -

$0.00

 

| Keystone Solutions,
ine,
6901 Shawnee.
Misskion Pkwy.

Mission, KS 66202

Trade debt

$0.00

 

NicKesson Medical -
Surgical, Inc. ~
9854 Maryland Drive.
Suite 400

- i Henrico, VA 23233

Trade debt

$0.00

 

Medline Industries :
Inc

“1 Dept CH 14400 -

_? Palatine, IL
1§0055-4400

Trade debt

$0.00 |

 

- | Organogenesis, Inc.
150 Dan Rd. :
“Canton, MA 02021 |

Trade debt

$0.00

 

Rural Hospital -

-_ Acquisition, LLC -
‘| Glo J, Clay

- Christensen, Esq.

i Christensen Law:

Group, PLLC |

3401 N.W. 63rd°

Street, Suite 600

_ | Oklahoma City, OK
‘E7346 :

Loan

Contingent
Unfiquidated
Disputed

$8,097,684.06 |

 

Smith & Son
Building Center |

417 SE 2nd ST.
Anadarko, OK 73005

 

 

 

| Trade debt

 

 

 

 

$0.00

 

“oti clad fortn 204

Chapter tior chapter & Gases: List of Creditors who Have the 20 Largest Unsecured claims

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page 2

Best Case Bankruptey

 

 
‘Detter -

Case: 20-13482

RHA Stroud, Inc.

Doc: 1

Filed: 10/25/20

 

Name

Page: 8 of 15

Case number {if known)

 

_ Namie of creditor. and
‘| complete mailing address,

“| Jociuding 7ip code - Spe

 

4 creditor contact 4

-| Name, telephone number

and.email address of:

   

 

Nature of clalm .

"4 (for example, trade oo”
‘T debts, bank loans,

“:) unliquidated, or- |

indicate if claim,
is contingent,’”

Amount of claim ©

It the claim:is. fully unsecured, fil in oniy ungecured claim airount fo
claim. is partially secured, fil'in total claim amount and deduction for:

 

 

 

 

: : professional.services, “)) disputed: --| value of collateral. or setolf to-calculate unsecured daim,
CE ben pi Ro a he | Total claim, if Deduction for value Unsecured Glaim
- '{ partially secured of collateral or setoff_

Trade debt

 

 

 

 

 

 

 

 

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‘Stability Biologics $0.00

2026 Fransworth Dr.

Nashville, TN 37205 _ |

US Foodservice Trade debt : $0.00
: Officia? form 204. Chapter tier Chapter 9 Cases: ‘List of Creditors Who Have the 20 Largest Unsecured claims page 3

_Best Case Bankruptcy

 

 
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~ B2030 (Form 2030) (12/48)
United States Bankruptcy Court
Western District of Oklahoma

‘Inre RHA Stroud, Inc. . CaseNo
Debtor(s} Chapter 44

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

“0rd. >, Pursuant to 11 U0 S.C. § 329(a) and Fed. Bankr. P. 2016{b), J certify that I am the attorney for the above named debtor(s)} and that
compensation paid to me within one year before the filing of the petition in bankruptcy. or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptoy case is as follows:

For legal services, {have agreed to accept, ce 0,00,
Prior to the filing of this statement Ihavereceived ee BU 0
Balance Due ee ne

 

2. . The source of the compensation paid to me was:

@ Debtor CO Other (specify):

. 3. . The source of compensation to be paid to me is:

| Debtor Cl Other (specify):
, : 4, / i. i have not apreed fo share the above-disclosed compensation with any other person unless they are members and-associates of my law firm.

. G Lhave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law finn. A
capy of the agreement, together with g list of the names of the people sharing in the compensation is attached. ,

5. _ In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required: i

. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

. [Other provisions as needed] a ot 7

Negotiations with secured creditors to reduce to market value: exemption planning; preparation afd filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant fo 11 USC
522(f}(2}(A} for avoidance of liens on household goods. .

fo gp |

6. .. By agreement with the debtor(s}, the above-disclosed fee does not include the following services: a
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding. : . oo L) , : ,

- CERTIFICATION

: I certify that the foregoing is a complete statement of any agreement or arpaffes
this bankruptcy proceeding. ©” : : Gets

 

     
 

ie Sy ment to me for representation of the dehtor(s)j

   
  
 

 

October 25, 2020 yond pete

eed, ” Sighat€ of’ Atihepey
on Rubenstein & Pi

1503 E.19th St. ©

Edmond, OK 73043
405-340-1900
mrubenstein@oklawpartners.com
Name of law firm

 

 

 

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United States Bankruptcy Court

Western District of Oklahoma
Inre _RHA Stroud, Ine.

Case No.

Debtor(s) Chapter 44

LIST OF EQUITY SECURITY HOLDERS

._ Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a}(3) for filing in this Chapter 11 Case

Name and last known address or place of

Security Class Number of Securities Kind of Interest
business of holder . :

-One Cura Wellness, Inc.
. 8502 East Chapman Ave.

. 400% membership interest
> Suite 434 —
-: Orange, CA 92869

-° DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

Date October 25, 2020

1, the President of the corporation named as the debtor in this case, declare uader penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

Signature“ Zarn/l-n Log
, Charles Eldridge fo a

Penalty for making a Jalse statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
oo IBUSC. §§ 152 and357L

    

 

‘Sheet 1 of.1 in List of Equity Security Holders
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Best Case Bankruptcy

 
Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 11 of 15

United States Bankruptcy Court
Western District of Oklahoma

Case No.

in re RHA Stroud, Inc. oe
Debtor(s) Chapter 17

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

- Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for _ RHA Stroud, Inc. in the above captioned action, certifies that the following is a

_ (ate) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any

” class of the corporation’s(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

One Cura Weilness, Inc.

8502 East Chapman Ave.

.. Suite 431

‘Orange, CA 92869 —

oo - CF] None [Check if applicable}

    

*: October 25, 2020 - . ALF / [If —)

- = Date : . ' AftichaeiRubensteinésg. OC BPR T ECE
oS : . Signature wt Aten ceseae

he Counsel for “RHA Stroud, tne,

Rubenstein & Pitts PLLC

1503 E. 19th St.

Edmond, OK 73043

405-340-1900 .
‘ mrubensiein@oklawpartners.com

 

 

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RHA STROUD, INC
db/a STROUD REGIONAL MEDICAL CENTER
RESOLUTIONS OF BOARD OF THRECTORS

THE.. UNDERSIGNED, being the Board of Directors (the "Directors") of RHA
STROUD, INC., a Domestic Non-Profit Corporation (the "Company"), pursuant to applicable
provisions of the Oklahoma General Corporation Act, Title 18, Section 1001 and the Company's
articles of incorporation and bylaws, hereby adopts ihe following resolutions, and such
resolutions have not been amended or rescinded and are now in full force and effect:

RESOLVED, that in the judgment of the Directors of the Company it is desirable and in

the best. interests of the Company, its creditors, and other interested parties, that a voluntary

petition be filed by the Company in the United States Bankruptcy Court for.the Western District

- of Oklahoma (the “Bankruptcy Court"), seeking relief under the provisions of Chapter 11 of Title

11 of the United States Code (the "Bankruptcy Code"), in which the authority to operate as a

debtor-in-possession will be sought, and the filing of such petition is authorized hereby; and it is
further .-

RESOLVED, that the Directors, Charles Eldridge, Sean Gill, Matthew Burke and
Courtney Beirne (the "Authorized Persons") are each authorized and empowered, on behalf of
and in the name of the Company, to execute and verify such petition under Chapter 11 of the

. Bankruptcy Code and to cause the same to be filed with the Bankruptcy Court at such time as the
Authorized Person executing the petitions on behalf of the Company shall determine; and it is
further SO . oO .

RESOLVED, that the Authorized Persons of the Company be, and each of them hereby
is, authorized, on behalf of and in the name of the Company, to execute and file all petitions,
schedules, lists and other papers and to take any and all actions which they may deem necessary
or proper in the aforesaid Chapter 11 case (the "Case"); and it is further ,

RESOLVED, that the law. firrh.of Akerman LLP be, and hereby is, employed under a

general retainer as attorneys for the Company in the Case as bankruptcy counsel and for all other
televant purposes; and it is further. . : .

_ RESOLVED, that the law -firm. of Rubinstein and. Pitts, PLLC be, and hereby is,
_ employed under a general retainer as-Oklahoma local counsel for the Company in the Case as
bankruptcy counsel for all local Oklahoma issues and for all other relevant purposes; and it is
farther oe

RESOLVED, that the Authorized. Persons of the Company be, and each of them hereby
is, authorized and empowered on behalf of and in the name of the Company, to retain and
employ other attorneys, accountants, restructuring professionals, financial advisors and other
professionals to assist the Company in connection with the Case on such terms as are deemed

necessary, proper or desirable; and it is further . ,

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RESOLVED, that the Authorized Persons of the Company be, and each of them hereby
is, respectively authorized and empowered to cause the Company to enter into, execute, deliver,
certify, file, record and/or perform, such agreements, instruments, motions, affidavits,
applications for approvals or ruling of govermmental or regulatory authorities, certificates and
other such documents and take any such actions as are, in their judgment, necessary, proper or
desirable to prosecute the Chapter 11 case and to carry out and put into effect the purposes of the
foregoing resolutions and the transactions contemplated by these resolutions, their authority
thereunto to be evidenced by the taking of such actions: and it is further

RESOLVED, that any and all past actions heretofore taken by any Authorized Persons of
the Company in the name of and on behalf of the Company,in furtherance of any or. all
preceding resolutions be, and the same hereby are, ratified, approved and adopted.

IN WITNESS WHEREOF, the undersigned has duly executed these Resolutions on this
14" day of October, 2020.

/ Netne: Charles M. Eldpxtze
* ?

Name: Sean Gil.

 

 

Name: Matthew Burke

Coventivay. Pecan.

Name: Coutthey Beirne

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Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 14 of 15

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IN WITNESS WHEREOF, the undersigned has duly executed these Resolutions on this
14" day of October, 2020.

 

Tidus ft

Name: Charles M. Eldridge

 

 

 

Name: Matthew Burke

 

Name: Courtney Beime

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Case: 20-13482 Doc:1 _ Filed: 10/25/20 Page: 15 of 15

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RESOLVED. that any and all past actions heretofore taken by any Authorized Persons of
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preceding resolutions be, and the same hereby are, ratified, approved and adopted.

IN WITNESS WHEREO

F, the undersigned has duly executed these Resolutions on this
14" day of October, 2020.

oo
Name: Charles M. Eldridge

Name: Sean Gill = ~~

 

Name: Courtney Beirne

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